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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 10-20108-02-BC
v.                                                            Honorable Thomas L. Ludington

DAVID ALAN FEGER,

               Defendant.

__________________________________________/


    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE INDICTMENT, AND
      TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on April 5, 2011 by United States Magistrate Judge Charles

E. Binder pursuant to the Defendant’s consent. Judge Binder issued his report on April 6, 2011,

recommending acceptance of Defendant’s guilty plea. Either party may serve and file written

objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that Judge Binder’s report and recommendation [Dkt # 73]

is ADOPTED.
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       It is further ORDERED that the defendant’s guilty plea as to count one of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 72] is taken UNDER ADVISEMENT.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: April 28, 2011

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on April 28, 2011.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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